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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
                                                              CASE NUMBER:

 JAMIE N. HEITMEYER
                                                                  2:23ícví02303íRGKíMAA
                                             PLAINTIFF(S)

       v.
 AMERICAN CREDIT í CREDIT REPAIR
 CENTERS                                                         AMENDED
                                                               ORDER TO STRIKE ELECTRONICALLY FILED
                                                                           DOCUMENT(S)
                                          DEFENDANT(S).




 The Court hereby ORDERS the documents listed below be STRICKEN for failure to comply
 with the Court’s Local Rules, General Orders, and/or Case Management Order, as indicated:
    5/26/2023              /         16                 /         MOTION for Clerk to Enter Default
   Date Filed                       Doc. No.                     Title of Document
                           /                            /
   Date Filed                       Doc. No.                     Title of Document




 Other:
 ORDER by Judge R. Gary Klausner re Clerk to Enter Default against Defendant American
 Credit í Credit Repair Centers[16] . The following document(s) be STRICKEN for failure to
 comply with the Local Rules, General Order and/or the Courts Case Management Order for the
 following reason(s): Document attached is actually a motion for default judgment. Default entry
 by clerk must take place prior to the filing of a motion for default judgment. DOCUMENT
 STRICKEN accordingly and for the reasons indicated in the Notice to Filer of Deficiencies [17]
 Docket entry text does not match document attachment.


 Dated: May 31, 2023
                                                                 By: /s/ R. Gary Klausner
                                                                    U.S. District Judge
      Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.

  Gí106 (6/12)         ORDER TO STRIKE ELECTRONICALLY FILED DOCUMENT(S)
